






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00472-CR






Oscar Capetillo Lopez, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT

NO. CR-08-334, HONORABLE GARY L. STEEL, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


PER CURIAM

		Bryce Runkle, attorney for Oscar Lopez appointed for this appeal, has filed a
motion&nbsp;requesting that he be allowed to withdraw as counsel for appellant.  Runkle represents that&nbsp;he
has accepted employment as a judicial staff attorney beginning June 1, 2010, and that the code of
judicial conduct prohibits him from continuing to represent clients, including appellant. 

		Runkle also requests that this Court abate this appeal and remand this cause to the
trial court for appointment of substitute counsel.  The parties have filed their briefs.

		Runkle asserts that he notified appellant of his intent to file these motions.  Appellant
has not filed any objection to these motions.

		Both motions are granted.  Runkle is allowed to withdraw as counsel for appellant. 
This appeal is abated and the cause remanded to the trial court for appointment of new counsel
unless appellant retains counsel, waives counsel, or is shown not to be indigent.  New counsel shall 
make an appearance in this Court by filing a letter announcing that he or she represents Lopez.  This
case will be set for submission after the abatement is lifted.



Before Chief Justice Jones, Justices Pemberton and Waldrop

Abated

Filed:   May 21, 2010

Do Not Publish


